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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA                     §
                                             §
V.                                           §          NO. A-20-CR-00047 (4) RP
                                             §
RICARDO HERNANDEZ                            §

                            AGREED MOTION TO WITHDRAW


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW VIKTOR OLAVSON, attorney for Ricardo Hernandez, Defendant in the

above entitled and numbered cause, and files this his MOTION TO WITHDRAW and would show

the Court as follows:



                                                  I.

       Upon review of discovery, the undersigned has become aware of a significant conflict of

interest involving undersigned’s former client.



                                                  II.

       The undersigned has discussed this conflict of interest and this motion to withdraw with

counsel for the United States. The United States agrees to this motion.

       WHEREFORE, PREMISES CONSIDERED, counsel respectfully prays that this Motion

to Withdraw be granted.



                                             Respectfully submitted,


                                             /s/ Viktor Olavson____
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                                         viktorolavson@gmail.com
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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 9 day of August, 2021, a true and correct copy of the
                                   th



foregoing instrument was electronically filed with the Clerk of the Court, using the
CM/ECF System which will transmit notification of such filing to all counsel of record:

Mark Marshall
                                         /s/ Viktor Olavson
                                         VIKTOR OLAVSON
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
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UNITED STATES OF AMERICA                   §
                                           §
V.                                         §       NO. A-20-CR-00047 (4) RP
                                           §
RICARDO HERNANDEZ                          §


                                        O R D E R



        Came on for consideration this day Viktor Olavson's Motion to Withdraw. For the reasons
cited in the motion, the Court finds that the motion has merit.

         The motion to withdraw is GRANTED. Viktor Olavson shall turn over all of Hernandez’s
files to Hernandez’s new counsel as soon as reasonably possible. Otherwise, Viktor Olavson is
hereby relieved of any further duties in this case.

       SIGNED AND ENTERED this _____ day of _________, 2021.



                                           ___________________________________
                                           SAM SPARKS
                                           UNITED STATES DISTRICT JUDGE
